412 F.2d 228
    Joseph N. TOONI, Plaintiff-Appellant,v.Eugene ZUCKERT, etc., Defendant-Appellee.Daniel L. EDWARDS, Jr., Plaintiff-Appellant,v.Eugene ZUCKERT, etc., Defendant-Appellee.
    Nos. 18228, 18229.
    United States Court of Appeals Sixth Circuit.
    Oct. 16, 1968.
    
      William R. Coen, Dayton, Ohio, Coen &amp; Way, Dayton, Ohio, on brief for appellants.
      Roger J. Makley, Asst. U.S. Atty., Dayton, Ohio, Robert M. Draper, U.S. Atty., Dayton, Ohio, on brief for appellee.
      Before WEICK, Chief Judge, CELEBREZZE and PECK, Circuit Judges.
    
    ORDER.
    
      1
      In these consolidated cases Appellants appeal from an order of the District Court for the Southern District of Ohio, Western Division at Dayton, sustaining the action of the Secretary of the Air Force in removing the Appellants from civil service employment by the United States Department of Air Force.
    
    
      2
      Upon consideration of the record, briefs and arguments of counsel, we find no procedural rights were denied the Appellants; and, considering the record as a whole find there was substantial evidence to sustain the removals.
    
    
      3
      It is ordered that the judgment of the District Court be, and it is, hereby affirmed.
    
    